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                EXHIBIT 58
      Case 5:14-cv-03953-BLF Document 36-71 Filed 09/21/14 Page 2 of 13




                                       DECLARATION OF TAD GULESERlAN

        L lad Clulcserian, declare under the penalty of pe1jury under the laws of' the State of

C'alifornia that the ((>!lowing is true and correct

        l.        l am over the       at!.C
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                                              of 21 wars and suJ'fcrinl.!. from no le!.!.al disabilitY. l make this
                                                                                             ~           ~




affidavit based   Upon   my   JXTSotlil] kl1<l\\ ledge      or the      lllC(S   Stated herein.

        2.        In l)ccember 200 I. I joined the newly formed Clark Capital Markets Group, or

CCJvlG. An unlli<1tt' nf Clnrk Recllly Capital Ll.C. CCMC1 provided investment bunking

solutions. including raising debt and equity capital. to linancc Clmk Realty Capital's                        r~~al   estate

projects.

        3.        A!'tc1· I started at CC!'v1Cl. I began working on RFQ and RFP responses f()r several

privatized military housing projects that Clark Realty Capital ("Clark") and Pinnacle Realty

Management Company            ("'Pinnn~:le .. )   had decided      to   pursue jointly through a joint venture called

Clark Pinnacle Family Communities CCI<Jrk Pinnacle''). In rny role at CC!v1Ci, l helped to

develop achievable and realistic plans for Jlnancing cach                        or the pri\ atized military housing
projeds C'lark Pinnacle pursue(L including the                !V!otJlt;~rey      and Irwin projects. After formulating

the plan Cor finnncing each project. I helped to prepare the "Financial Plan" portion of the both

the \\Tillell and oral presentations that \Vcre made to the Army nnd its advisors.

        ·'L       ·rhc basic terms of the capital structure and financial plans lhnt Clark Pinnacle

proposed for both the Montcn.'y and Invin projects were consistent with the ·rerm Sheet signed

by Cleve Johnson and Stnn I !arrclson on                OctolK~r   22. 200 I: ( i) the equity was supplied 70%, by

Clark and 3CY% by Pinnnde: {ii) debt linancing was supplied by a third party: {iii) cash !low to

equity·. which was to be      p~tid    only aller the end of tht.:~ Initial Development Period and only at the
         Case 5:14-cv-03953-BLF Document 36-71 Filed 09/21/14 Page 3 of 13




end of a ''\vntcrthll" of' higher priority payments. was split 70°·\j to Clmk and 30% to Pinnacle:

and {i\) pn:-devclopment working capital would be provickd and split 70/JO us               \\\~11.   Ex. 1.

           5.     The Army's guidelines f{)r private parties like Clark Pinnacle Farnily

Communities that      wc1\;   pursuing privatization projects indicated that the projects \Vould pay

market rate fees 10 the providers ul'typical real estate project services: development services:

construction managemt.'nl services: asset management services: and property management

services. In the F'inancinl Plans prepared J{Jr the Monterey and lnvin projects. Clark and

Pinnacle agreed to divide tlh.' fees    nx these services in a manner consistent with the Term Sheet:
th~:•   development lees. construction lh:s amlthe asset numngemcnt fees were paid entirely to

Clark; and property m;mngemen! fees were paid entirely to Pinnacle.

           6.      To show the Army and other interested partks the antkipated cconomi<: benefits

ofthc proposed projects. Clark Pinnacle prepared a '"Financial Plan'' presentation and \\Titc-up.

and a "Pro Forma·· fimmcinl model fur both Projects'         50-yl~ar   anticipated li!\:span. The Financial

Plnn und Pro Forma were initially presented to the        Arnl)'   during the "Second Round" of' the

selection process in v;hich C'lark Pinnacle participated. At the "Second Round'' proposal stag..:.

each Pro Forma showed the anticipated cash flmv !()reach project us woposed by Clark Pinnacle

before Clark Pinnacle was selected. Arter Clark Pinnacle was selected by the Army to prepare

Community Development nml !VIanagemcnt Plans ("'CDivlPs'") li:1r fv1ontercy and Irwin, cnch Pro

Forma was revised and updated and t'Vcntually showed the anticipatt:.d cash f1ow \Vhieh was then

upprored by the i\rmy (and Congress) .in tile Financial Plan pt)rtion of' the upprowd CDMP.

            7.     The r:inancial Plan and Pro Formas pruposcd by Clark Pinnacle ror             ivlont\~rey   nnd

ln\·in showed that the JC:es ullocatcd to Clark and Pinnacle fnr construction, development. asset

management and properly manngcmcnt were the partners' primary                J11(~ans   or compensation and
      Case 5:14-cv-03953-BLF Document 36-71 Filed 09/21/14 Page 4 of 13




return on investment. This was so for ::;everal reasons. l·'irsL the Hnanciul Plan did not pr<l\'ide

any return on equity during the lnitinl Development Period (!irs! 8 to 10 yenrs of' the Project)

since residual funds during that period \Yere used as a sm.n\:c of funds t'nr project development.

Second. distribution of cnsh to the Clark Pinnacle partnership was contingent upon the project

general i ng sufficient   11c1   operating income to make all the payments higher up in               th.:~   cash llmv

··water!fd l." Development and construction bnse and i ncent i vc lees ''ere tu be paid out                     or the
devc~lopmcnt   and construction budget J'um.hxl at closing. Base property                 nHllHll:~ernent f(:,~s   \Vere to

be pnid as an operating expcnsc. !\llthcsc fees were higher up in the ''wntcrfall" than distribution

nf (:ash !low to the Clark Pinnacle partnership. Third, any         ~,;ash   llov.   to   the Clark Pinnacle

partnership was subject tu an annual maximum distribution limit so thnl even iftht:: project did

exceedingly \\'ell in a given year, the cash !low distribution to the Clark Pinnacle equity in that

given year was lirnited by the cap. Fourth, unlike a typical real estate projecL Clmk Pinnacle

could not sell the project or recapitalize the project nnd "pull dollars out" once the dt:vcloprnent

was complett.:c!. lnstcad. the rl:al estate nnd improvements were expected to revert to the Army.

        8.       .t\Her C'lark Pinnnele's proposals were acceptt'd by the Army, Clark Pinnacle

ncgotiDtcd a "'final" llnancial plan with the Army as part of' preparing the ('DMP. The .. linnr'

Pro Forma apprmed !'or the tv·tontcrcy Project at project closing shifted C'lmk Pitllwt.:le's return

on investment lll!'IZ\'lhml cash flows to the equity partnership, and wmmls fees f('>r providing

services. Ex. 2. h1r example, the Ji1wl Pro Forma for Monterey shmvs that the Property

[Vlanager \.Vould receive "Base Fees'' or$68.8 million and incentive lees o!' $94.6 mil!inn

(conservatively estimating that Pinnacle would achkve only              75%~    of its incentive fee) for a total

of$163.4 million in lees over the lite of'the project. Id. By contrast. the Pro Forma shows that

Clark Pinnaclc's share o!' cash        ilO\V   (the return on equity) wuuld not begin until 2013. and \\Ould
      Case 5:14-cv-03953-BLF Document 36-71 Filed 09/21/14 Page 5 of 13




return only $39.0 million to Clark Pintwcle over 50 )\'ars. Pinnacle's J()<% share ofthc equity

return cquukd $11.7 million.

        9.      The final linnncial plan and Pro Forma f{lr the Irwin Project sho\\'s similar

expectations !'or lees and equity returns.          r:x.   3. The Irwin Property rvhuwgcr       \V<IS   pmjccted to

earn $11 l-1.7 million in Base h~es and $50.4 million in incentive fees (wnscr\·atively estimating

that Pinnacle would achieve only 75%) of its il11..:cntivc lee), J()r total of$ I69.1 million in fees

over the lilc of the Imin Project. In contrast. the return on equity to Clark Pinnacle projected for

the Irwin Project did not start until 2013 and amounted to only $26.8 million after 50 years.

Pinnacle's 301XJ projected share of1hc equity return \vas approximately SS.O millioo.

        10.     When      Clar~     Pinnacle described the signifkmlcC' o!' sen icc prm idcr li::c·s to lilt'

Army in its Monten:y ·•Step T\\o Submission'" on June 6. 2002. we noted that om proposal

"rcquire[d] ices   to   be the primary means or compensation and return on!of investment." Ex. 4.

This was true for hoth the tv1on1en.:y and Irwin Projects as proposed by Clark Pinnacle, as

upprovcd by the Army and rclkc!ed in the CDrvtP, and later in the rna1crinls used to obtain nnd

cluse on the projcd financing.

        11.     In ddditinn. Clark Pinnw.:lc had the ability. as i\hmaging Member o!'tlw entities

that would L'ventually become the "Development Owners'' (i'vl!JMH and ('tv1Cl. to direct these

ices to their affiliated third parties. This was a very valuable asset. As proposed to the Army,

and as approved by the Monterey CDMP. Clark Pinnndc decided tn usc its position us the

1'vlanaging I'vlember of the Development Owner to retnin                 ~~~cs   i(>r property rnnnagcmenL asset

management. construction. and development services for its constituent members. Thus. nt

:'vlomcrcy, Clark Pinnacle direded :V!BMH to                cnll~r   into service agreements with Clark and

Pinnack af'filiales. As     \V('   \Vro!l·   in Clark Pinnacle's Step Two Subrnission at Monterey:
     Case 5:14-cv-03953-BLF Document 36-71 Filed 09/21/14 Page 6 of 13




"13ccause this project is not u lntditional real estate investment and we do not intend lu profit

fron1 n disposition   or the property, the nbi lity to n:tuin rccs !'rom both asset management and
related third part.)-' service providers becomes Clark Pinnacle's most vuluahlc asset." Ex. 4.

        12.    llowever. i r Clnrk   PinmK~k   had   \V(Hll\:d   lo. it could have sold the right to provide

property management services at rvlontcrey or fnvin to ;mother qualified und npproved property

managerncnt company. J:kcause        or the length or the property nmnagcment agreement and the
arnount of base i'et:s to be earned and incentive l(:es potentially uvailable, n reasonable property

management company \vould have been willing to pay Clark Pinnacle an amount equal to the

present value of the future stn:am of' fees in order to be the property manager.


Executed at \Valtham, rv!assachusetts on November 6. 2012
             Case 5:14-cv-03953-BLF Document 36-71 Filed 09/21/14 Page 7 of 13




                                              CLARK
                                              -------
October 31, 2001                              1< I ,\I I \'   1 II   I f I J I I< \


Mr. Stan Harrelson
Pinnacle Realty Management Company
401 Second Avenue South, Suite 110
Seattle, W A 98104

Re: Term Sheet for Military Housing Privatization Company

Dear Stan:

Please find enclosed one fully executed term sheet for the forthcoming military housing projects. We look
fmward to the opportunity to work with Pinnacle, and hopefully we can land one of the large privatization
projects.

Sincerely,


Mt!J~f~tp_,e..)
Glenn A. Ferguso
President




                                                                                                    EXHIBrT


                                                                                                     ~
                                            Clark Realty Builders, L.L.C.
                               7500 Old Georgetown Road              Bethesda, Maryland 20814
                                          (301) 272-8100                   (301) 272-8499-Fax
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                                                                                                October 22, 2001

                             TERM SHEET FOR MILITARY HOUSING
                               PRIVATIZATION JOINT VENTURE


    Noted below are the terms upon which Clark Realty Capital, LLC (together with its affiliates and
    assigns, "Clark") and Pinnacle Management (together with its affiliates and assigns, "Pinnacle")
    would enter into a venture to pursue contracts for the renovation, construction, and management
    of military housing and related improvements at Patrick Air Force Base, Fort Bragg, Fort
    Campbell, Fort Polk and Fort Stewart. Pinnacle and Clark shall team on an exclusive basis to
    submit a proposal on the four referenced projects.

    Equity:                   To the extent not supplied by third party institutional equity, to be
                              supplied 70% by Clark and 30% by Pinnacle.
    Debt:                     To be supplied by third party.
    Cash Flow:                Cash flow after debt service and payments to any third party equity
                              investors or the AFB shall be split 70% to Clark and 30% to
                              Pinnacle.
    Pre-                      Pre-development working capital to be provided and split 70/30
    Development               between Clark and Pinnacle after mutual approval of a pre-
    Working                   development budget. Each party to shall be responsible for their
    Capital                   direct personnel costs and travel.
    Development:              To be performed by Clark. The development fee (estimated to be
                              4%) shall be paid entirely to Clark.
    Property                  To be performed by Pinnacle. Total fee (estimated to be 4%) shall
    Management:               be paid entirely to Pinnacle.
    Construction:             To be performed by Clark. Total fee for GMP Contract (estimated
                              to be 4% fee plus 2% overhead) paid to Clark. Total fee for Design
                              Build Contract (estimated to be 6% fee plus 2% overhead) paid to
                              Clark.
    Asset                     If required, to be performed by Clark.
    Management:
    Guarantees:               Neither member is obligated to provide any loan guarantees.

     This term sheet is not intended to set forth binding obligations and all rights and obligations of Clark and
               Pinnacle are subject to negotiation, execution, and delivery of defmitive agreements.

    Clark Realty Capital, LLC



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    Title:_Mb.'.AatN.6.: 12/eEe&Pr.z_
                                                                        Case 5:14-cv-03953-BLF Document 36-71 Filed 09/21/14 Page 9 of 13




SCHEDULE OF FEES
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                 ExhibitB                                                                                                                   Page~         of 5                                                                                                        Mcnt~"'Y         Bay M1ilta:y HouSlr.g

       CONFIDENTIAL-ATTORNEY'S EYES ONLY                                                                                                                                                                                                                          MBMH-CMC00199701
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FEES
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                                                                    PROJECT            DEV.PERlOD                    2004                   2005          2006            2007            2008          2009                2010                    2011                     2012
                                                                     TOT,\L              TOTAL                             I                   2              3               .j              5             6                   7                       s                  9
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Property Management Fees

  Base fee                   2.75~•                 ofEGl             1 i 8,692,667        8,314.1:?4            538,895                709,689        981,073     1.093,382        1, 118, 133    1,158.640          1.216,462              1,2i6,i53            1,342,909
  lncennve Paid              1.13%,                 of EO:             'iO 372 910         3 546 749             232 677                306 216        418.774       465 l32          475 581        492 880            517 708               lli.2Ql               572 037
  Totai                                                               169.065.577         11.860,873             77;572               1,0 15,905     1,399,847     1.558.515        1,593,714      1.651,520          1,734. ! 7 1           1.820.354            \.9 14.947
Asset Management Fees

  Base fee                   0.50%                  ofEGJ              22.387,960          i.576,333             103,412                136,096        186, 122      206,725         21!.369         219,058            230,093                241.601                 254,239
  In~ntiv~   Eai!l           0.19%                  ofEGr               8.395.485            591.125              38.780                 51.036         69 796         77 522         79.263          82.1~7             86 285                 2MQQ                    95 340
  Total                                                                30,783.445          2. i67.458            142,192                187,132       255,917        284.247         290,633         301,204            316,3i7               332,201                  349,578

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Construction Fee

  Base fee                   3.75°..-Q    of Total Hare Costs          42,696~227         10,222,086             376.707              3,930,885      1,930,008       569379          644,792       1,010,848            851 ,1 36              890,797                  17,534
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  Total                                                                53.370.284         12.777,607            470.884               4.9!3,606      2.4 12.510      71 !.724        805.990       1.263.560          1.063.920              1, 113,496                 21,917
Development Fee

  Base Fee                   3.25'%      of Development Costs          47,332,590         11 ,051,4 !5         1,341,453              3,756,316      1,864,944       623,673         685,063         997,276            857.904                891,422                  33,363
  Incentive Paid             0.38~--~    ofDeve1opment Costs            5,500,562          1.306.663             159..178               443.79 1       220.334        73 684          80 937         I i7.823           101 357                105 3i7                   1.2:!l
  Totai                                                                52.833,151         12,?58.078           1,500,93!              4,200,107      2.085,278       697356           766,000      1,115,100            959,262               996.739                   37,305



rr-• --F~                                                            231.109.444          3 1.163.!15'1        2,368,~                8Sl4<J86       4.962.147     2.493.160        l,659.J57      3,38S,823          l, I!.$.M5            3,JOO,S'71            1.648,64!1
[Total Poteotialla.:eum·es                                            74,943,013           8,000,0S9             525,11 1             1,783,764      1,191,406       758,683          796,979        945,562            918,134               962.218               675,701.
l!_o~t~
      ~ ~tilllluceotiwe: l'm                ~   -                    ~~h4.'i7             ,)!).1~1~       -    ~~~                   lo.J!6.:7r.G    6.1~~         3.2S l.:W        3.4~7          W f,3S5            4,trl3,?19            4.261,.7JIIt          l,JZJ,7:t7




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      CONFIDENTIAL-ATTORNEY'S EYES ONLY                                                                                                                                                                          MBMH-CMC00200082
                                                                    Case 5:14-cv-03953-BLF Document 36-71 Filed 09/21/14 Page 12 of 13
 CASH FLOW

       ffiWlJii.l\iOFFET AIRFIELD, PARJ

                                                                            4.>J~O_G'JQ                                                                                          0                0     4.oc-o.ooc                  0                  0
                                                                         366,935.000          166.935.ooo B 3s6.935.ooo                                         0                0                0                 0               Q                  n
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                                                                        3.025.947,Sl4         550.628.728        U F5.7S9.200       329.,070,839      208.783.198    151.278.256       134,591_257     l.!OJ74.875       91..938.151       7i.l90.072


                                                                         366.935.000                                                             0              0                1')              0                 0                 Q               0
    ; st Mortge.:te fmg:est                                              741                  :s~.96~.65S           19 Ul 111J       21 745   ~3:      "3 24-; ·u2    23 -:'.15.332    23 2-!5   B~    21 245 ;·n        21 z..::-; 332    :?3 .!45 3J"
    l st ~ lortgago Total Dt:b' Senice                                  l.ll4,8..:l2.913      i   85.961.658.       19.371.110       13.2~5.332        Z3.2.45.33:    23.2~5,3.32      23.2.:;5,33:2   23.245,332        23.20:5.312       23.24-5.332
    ht :Mortgaage Debt Senice Co,·er.ag.e Ratio                          '.88                     l 07               :i82             0.83               1:".:·6        J :7              1:7            120                1 25            L29
    1st ~lortgage DSC Rlotio Hod. GIC on DSIU'i                                                                      0.8.:            0 8<1              I OS.          J !9              i t9            122               126             ] jj


lcompensation for ]"'-~ Trailer Pads
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lnn~Jopment Plan Cost
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                                                                         359..;94.953
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                                                                           22.387.9b0              1.576,333            W3,4l:!          !36,·::")6       186,122        ZC6.7::;5        2~   1.369      2:9.058           230~093           2...;l,fi0~

                                                                           j_C'.3_:5.~.:!~1         1.200.000          ~:"" 000          J50 von          150 OOG        JSOOoJ.O         159 O<"Al       J.iQ..Qi.;j)       1--;nooo         150 000
        \igrnt. fee &. Re!mhu:rseable E..xpenses                           3:!,713362              :!,776,333          228,41:2:         286.096          336.122        l5o.725          }61.}69         }69.058           38U,093           391.601
        Mgmt Fee & R.ei:nl>urseables Pasd                     100%         32.713.362              J.Ti6.33J           2Z8.~JZ           ZS6.096          336,122        156.725          J61.J69         J69Jl5S           380T093           39L60i
        Mgt i="ee Deterred Current Pencd                                                                                                                                       0                  ~                 n                '~             0
        'vlgt Fee Deferred ~                                                                                                                                    0                                 D                                  0              0

        Flow from Operations & Financing ,\®ities                                                                  309,753,124      IS3.349.Dl':      l:·t536.39G    lG7.388.559       88.699.933      64~319.767        .!J,-ID5,6Si      rs.555,&09
}}Rcira:estmcill .-'\c;:ount DcpoSts                                                                                         Q                   i!              Q               Q              Q                  Q                Q                  i1
       .a\'aiiable after Reinvestmcm   A~r.ts                                                                      309,7:D.j24      tS3)49.01Z        12..!.536.3%   IC7.388.559       88.699.933      64.:>!9,767       ~1.405.681        18.555.809

                                                               0.25%                                 788.l66             51.706          68.048            93.06!         1G3_:i63        W5.6RS           }c-9,51:9         liS.=            l20.8()0
                                                              1.25%                                3.407.362            l25.569       !,310,295           643.3}6        189,i93          214.931         336,9.:9          283.7;2           Z%.932
                                                              05(1%                                1,7.:~218-          21.2,637         5-91,72.1         293,779         98.245          !07.916          !57,098           135.143          140,423
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                                                                           99924,018              10. ~.745            700. l45       2,378,35-2        ; ,588_541      i.Ot L577        1.062.639       L26{t149         1.224,l7:t        1,282,957
                                                              iS%          7~.94).0JJ              8. 000,05-9         5:!!\,lll      1,1"S3,764        [.191,406        75S.683           796,979        94:5552           91S,!~            96Z.ciB
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                                                                                                                   309.:!28.GIZ     !&l.S6S.24S       123.34-\.%0:   I06.62.9.876-      87.902.954     63.374~205        4C.4S7.5·H        17.593.59~
                                                                                                                     7m.:t~~          6192 Rl"          '80<475        ~                 2.132 225       I 907 902        1 347 350           723 914
                                                                                                                   316.26:t904      187.958.050       127.15G,459    109.7!6.0P        90,J3S.l79      65.282.107        -iL83~.&9?        18,317,525


        Flaw Split After Fees :~nd     Ret:~p   .--\ccounts
 CF lo Army         D~ry       Fund -'\c:t:ouo!                85%                                                                                                               q                0                                                    0
    "Go"ernor Ac..'"'OUn~" - Current                                                                                                                                             (~               <)                i}               0
    "Go'-"CIT-01 Acccur;l" - Cumu.larive                                                                                       0                                i}               0                0                 a                G                 0
   CF lo Clark Pirmade - Current                               15%                                                             p                                n                0                0                 0                4}                0
    Partnt:r~h-ipSplit ~d - C~;muf.at:n~                                                                                       [!                               0                ·J               0                 0                a
  Par;r.ers.ttir Split .-\ctn.Js:¢                                                                                             D                                G                                 0                 a                c
 Total Paid Via Spliu                                                                                                          D                 0              0                c                0                                  0                 0

Casb Awililble For Rcinve>tmear! ,\dditiolllll Rerum to                                                            3 '6,:62.9<1-l   187.95S.C<>I      l27.J50.<60    109.<16.08~       90.335.179      o5.ZSZ.l07        4l,SJU97          18.317.525

 Additional Return to ,\rmy (Above ClP sbare)                                                                                  0                                (I               0                0                 ij




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CONFIDENTIAL-ATTORNEY'S EYES ONLY                                                                                                                                                                                                                           MBMH-CMC00200096
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              ClARK PINNACLE FAMILY COMMUNITIES LLC- 'L\. World Class C(lmmunity for the 21st Century"

                                                             A<ut Managcntnt Fee:                                                                                       ~
                                                             ~ As.sft Mo.nagemtnt Fee proposed is 1.5% of Net Openting Income during the IDP. 3.~ afttr
                                                             the!DP.                                                                                                    Experience hu taught w tfw tlaibaity in IC<Xlmmodatlng the needs of each member Is esuntid
                                                                                                                                                                        for the long-term viablllty of the partnership. Jll with our entire plan. the Finalldal Plan pro-ides
                                                             Ikvdopment Fas:                                                                                            flexibility while establishing a solid and stable base on wbicll to model the CDME
                                                             The basedevelop.-.t fee prop<>sed is 3% of Total De\"elopmeut CoctJ along with a 0.5% dewl<>p-
                                                             ment ina:nti~ foe. Ddiverin& the pwject on time &lid on budget will be the general ~uw lOr                 Our plu is balanced and plOYides adequa!C funds to ddM:-c the propo$Cd produa, amel1itic:i and
                                                             the incentive foe. l.>wing the CIJ!-.-11' a specific measurement system v.ill be lgJeCd to by Oark         services. Wea~ nising these fundut the Dies for fixcd·rall: debt and with no prefened returns on
                                                             Pinnacle and the Army.                                                                                     i~Mstedequity. Our plan provides the means to return the majority of the pwjectcash tlowto the
                                                                                                                                                                        Army and OIISUCOS that the funds ~1ly benefit POM/NPS. The plan compcnsata ..rria provid-
                                                             ConsrrualotJ Fees:                                                                                         ers with a base fee mf!ldent to aanct and retain experienced finns while encouraging wperior
                                                             The base constru<:tlon fee Is 45% of Construction Cosu. Incentive fees fOr the coastnlction team           service with incentives b~ on performanc:. Furthenoore, to ensure continual and consistent de-
                                                             will be b..sed on the dual goals of product qualiry and on-time ddivery. T1w! conmtlction rnntractor       livery of superior services our plu allows dismissal of servia pwviden Ia the OYellt that pet{or-
                                                             will be rewarded for COII$btcntly delivering u!Uts of Jupcrior quality on time.                            lnlllCC drop$ below •=ptable sta.ndards. !be maximum &mouat or funds lfC raised to improve the
                                                                                                                                                                        POM/NPS housing while prottalng the Amrf from linancW llabillty.
                                                             The base construction fee is 45% of coll$lruCtion COltS, and the construction costS include 2% fOr
                                                             ovethead. Incentive fees for the construction tum will be based 011 the dual goals ofproduct quality
                                                             and on-time unit ddh-.ry. In addition to the base fee o( 4.5% of hard cos Is, the contnctocwill have
                                                             the opportuaity to earn up to one additional pcrctntage point of fee. The system we will use will
                                                             employ an independent third party to assess qtuliry, and the schedule geal will compare the original
                                                             S<hedule to the date ofactual completion. If a unit is dJzvered on time :and meets the quality goal,
                                                             a OOnUS is t411lcU ror that unlL

                                                             Property Mill1l1gtmtnt Fees
                                                             The base Property Management Fcc is proposed a.s 3% of~~ inromc.

                                                                 Recognizing that the typical goals of property managers In the private ~ctor- increasing rtV-
                                                                 mue and reducingv•canq-ar< not controDable in the maitary S<tting. we envUion 111 inun-
                                                                 tivc program b...:d on main~ining resident utisuction. la addition to a lnllket-nte bo>c fee
                                                                 of three percent, property management will be rewarded for superior custome.-satisfaction on
                                                                 a sliding ocale. The system we enrision will allow bonuses to be earned ranging from 20 to 200                                                                                                                  t::
                                                                 basis poinu of the net ann.W "'ntal rectip<s. The ineentive program r<qWl"t$ the "'rvice pro-                                                                                                                   m
                                                                                                                                                                                                                                                                                ~
                                                                 vider to attain a bue threshold Jeor< before they are entitled to any portio11 or the incentive foe.
                                                                                                                                                                                                                                                                                           ':!-
                                                             Perfmnana of the Managing Member                                                                                                                                                                                   w
                                                             Perfonnanet "guarantees" by the Managing Member are provided by the structure of the entire
                                                             flnandal plan. llyplll'iidlng rc:rurn oflon lnvesnnat primarily through fees earned by as5et, prop-
                                                             erty and construction roanigement, and by providing rmch2ni5ms tO dismiss th~ str.ice provid-                                                                                                                      • "M:I31 3l.'tf.LS-11V
                                                             en fur non-peri>munce, Clark Pinnacle has great incentive to rn<et performance stand.ards as de-
                                                             fined in each agreemenL
                                                                                                                                                                                                                                                                                It                  1
                                                            !!<c.use this project is 1101 a traditional real C$late invesunent, and we do not intend to profit from a
                                                            dispo<ition of the property, the ability to retain feec from both ....et =•seroent and m•ted third-
                                                            party $CMce providm bcrnmes Cark Pinnodc'• moot valuable asset. Dy requiring fees to be the
                                                            primary means of compensation and return on/ofinvestrn<nt, and by structuring Asstt Manage-
                                                            ment and all other ~rv!as as third party contraCtS that·tllow dismissal In the event of non-perfor-
                                                            man~ we haw provided the Army a "gwrantee" or performance byOarkPinnade. We~that
                                                            the managing member's inc:enti'ole to retain and increase ~e mwue m optlm.ally aligned with the
                                                            Army's goal of maintaining the best product over time.

             MONTEPJ:Y FAMILY HOUSING                                                                                                                                                                                                           STEP TWO SUBMISSION
            SOL NO. DACA31-02-l\:{l00l                                                                                                                                                                                                                         VOLUME ll
                                                                                                                                        Pagel~
                                                                                                                                                                                                                                                             JUNE<>. 2002




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                                                                                                                                                                                                                                                      MBMH-CMC00199030
